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                         Exhibit 2
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                                                             Cascadia
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Freedom of Information Act Request

October 9, 2024

Ryan Witt, FOIA Officer
Bureau of Land Management
Attn: FOIA Office (WO-640)
1849 C St. N.W.
Washington, DC 20240

Submitted via DOI portal

Re:              Freedom of Information Act Request for Data and Survey Results for Northern
                 Spotted Owls in the BLM’s Blue & Gold Project Area over the Last 5 Years (2019
                 – present)

Dear Mr. Witt:
This request for documents is made pursuant to the Freedom of Information Act, 5 U.S.C. §§ 552
et seq. This request is made on behalf of Cascadia Wildlands and relates to information regarding
northern spotted owls survey data for the Blue & Gold Harvest Plan (DOI-BLM-ORWA-R040-
2020-0001-EA). Cascadia Wildlands is a non-profit organization based in Eugene, Oregon
devoted to protecting old-growth forests and the imperiled species therein.

Specifically, Cascadia Wildlands requests:

      1. All records, information, documentation, reports, and communication pertaining to the
         northern spotted owl associated with the Blue & Gold Harvest Plan, including, but not
         limited to, survey data (including Autonomous Recording Unit (ARU) survey data),
         emails, meeting notes, and correspondence over the last 5 years.

      2. All records, information, documentation, reports, and communications with U.S. Fish and
         Wildlife relating to the northern spotted owl and its habitat including, but not limited to,
         those records, information, documents, reports, and communications associated with
         consultation and interagency coordination under the Endangered Species Act for the Blue
         and Gold Harvest Plan over the last 5 years.

This request applies to all responsive documents for which disclosure is not expressly prohibited
by law. If you should seek to prevent disclosure of any of the requested records, we request that
you: (i) Identify each such document with particularity (including title, subject, date, author,
recipient, and parties copied), (ii) Explain in full the basis on which non-disclosure is sought, and



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(iii) Provide us with any severable portions of the records for which you do not claim a specific
exemption.

Cascadia Wildlands respectfully requests that you waive any fees, including search and
duplication costs, which would otherwise be incurred by this request. The Bureau of Land
Management (BLM) should not charge Cascadia Wildlands for the requested information
because “disclosure ... is in the public interest [and] is likely to contribute significantly to public
understanding of the operations or activities of the government and is not primarily in the
commercial interest of the requester.” 5 U.S.C. § 552(a)(4)(A)(iii); 7 C.F.R Pt.1, Subpt. A, App.
A, Sec. 6. If the BLM decides not to waive fees, please contact me BEFORE incurring any costs
in response to this FOIA request.

Cascadia Wildlands is entitled to a fee waiver because disclosure of the requested information
satisfies all the requirements set out in 7 C.F.R. Pt.1, Subpt. A, App. A, Sec. 6(a)(1)(i)-(vi). First,
the subject of the request concerns “the operations or activities of the government.” 7 C.F.R Pt.1,
Subpt. A, App. A, Sec. 6(a)(1)(i). Specifically, the requested information concerns the operations
and activities of the BLM.

Second, the request has informative value and is “likely to contribute to an understanding of
government operations or activities.” 7 C.F.R Pt.1, Subpt. A, App. A, Sec. 6(a)(1)(ii). Cascadia
Wildlands and the public are aware of BLM’s proposed logging in several areas in the Coast
Range, including in the Blue & Gold project area. Cascadia Wildlands, numerous other groups,
and citizen surveyors are heavily involved in conservation efforts within these areas and are very
concerned about the impacts of logging on the forest, particularly its impacts on northern spotted
owl and their habitat.

The requested information will contribute to an understanding of the status of imperiled wildlife
on Western Oregon BLM lands. Cascadia Wildlands has “expertise regarding the requested
information” because our staff, board, and members include wildlife biologists, environmental
attorneys, and other relevant experts who will review the requested records.

Third, the disclosure will likely contribute significantly to the “understanding of the subject by
the general public.” 7 C.F.R Pt.1, Subpt. A, App. A, Sec. 6(a)(1)(iii); 7 C.F.R Pt.1, Subpt. A, App.
A, Sec. 6(a)(1)(iv). There has been significant public interest in old-growth forest conservation in
Oregon, especially in areas that Oregonians frequently recreate within such as these areas near
Sutherlin and Yoncalla. Cascadia’s members and staff have a deep appreciation of the coastal
forests and the federally listed birds that inhabit them, such as the northern spotted owl. Cascadia
Wildlands intends to use this information to inform the public of the BLM’s logging activities
and the resulting impacts on federally listed species.

Cascadia Wildlands also intends to use the information to encourage the public to participate in
governmental activities and in the planning process for the ongoing forest planning projects
occurring on public lands in Western Oregon. Cascadia Wildlands will disseminate the requested
information to our 12,000 members and to the general public in several ways including by the
media, on our website, by email, in our newsletter, and others. The Cascadia Wildlands’
campaign emails are received by more than 7,000 people every two weeks; our website is visited



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by more than 3,000 people per month; and our newsletter is read by more than 1,000 people
every quarter. Because our mission is to educate the public about the Cascadia bioregion and the
environmental threats it faces, the public’s understanding of the subject of the requested
information is perhaps our primary goal in requesting it.

Finally, the disclosure of the requested information “is not primarily in the commercial interest
of the requestor.” 5 U.S.C. § 552(a)(4)(A)(iii); 7 C.F.R Pt.1, Subpt. A, App. A, Sec. 6(a)(1)(v)-
(vi). Cascadia Wildlands does not have an interest in the requested information in “commerce,
trade, or profit.” McClellan Ecological Seepage Situation v. Carlucci, 835 F.2d 1282, 1285 (9th
Cir. 1987). Cascadia Wildlands intends to use the requested information, as stated above, to
further the public interest by guarding against irresponsible and potentially illegal logging on
public forests.

As provided by FOIA, Cascadia Wildlands trusts that we shall receive an initial determination
regarding all components of our request within twenty business days of receipt. 5 U.S.C. §
552(a)(6)(A)(I). If the BLM refuses to grant the requested fee waiver, please contact me before
incurring any expense related to this FOIA request. In the event of an adverse response, Cascadia
Wildlands reserves the right to appeal such a decision. If you have any questions regarding this
request, please contact me by email at peter@cascwild.org or by phone at (541) 434-1463. Thank
you for your consideration of this request.

Sincerely,

Peter Jensen, OSB (# 235260)
P.O. Box 10455
Eugene, Oregon 97440
Tel: (541) 434-1463
peter@cascwild.org




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